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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
PAUL RUSESABAGINA, et al.,                       )
                                                 )
                                  Plaintiffs,     )   CIVIL ACTION NO.: 22-00469 (RJL)
                                                 )
         v.                                      )
                                                 )
THE REPUBLIC OF RWANDA, et al.,                  )
                                                 )
                                  Defendants.    )
                                                 )


   AFFIDAVIT OF SERVICE ON THE DEFENDANT REPUBLIC OF RWANDA

         I, Edward MacAllister, hereby certify under penalty of perjury, this 26th day of

April, that:

    1.         The Defendant the Republic of Rwanda (“Rwanda”) was served pursuant to

               the provisions of the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C.

               § 1608. The FSIA “provides the sole basis for obtaining jurisdiction over a

               foreign state in the courts of this country.” Argentine Republic v. Amerada.

    2.         28 U.S.C. § 1608 sets forth the requirements for sufficient service on a foreign

               sovereign. The first possible means set forth in 28 U.S.C. § 1608 is

               subsection § 1608(a)(1) is under any special arrangement for service between

               the “plaintiff and the foreign state or political subdivision.” No such “special

               arrangement” exists with regard to any Plaintiff in this action and any

               Defendant in this action.

    3.         The next means of service pursuant to the FSIA is through delivery in

               accordance with any international convention on service of judicial
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        documents. 28 U.S.C. § 1608(a)(2). The only applicable such international

        convention is the Hague Convention of the Service Abroad of Judicial and

        Extrajudicial Documents in Civil or Commercial Matters. (Citation omitted).

        This Convention was ratified by the United States but has never been ratified

        by Rwanda. Service therefore was not available through this route either.

4.      The next means of service available is by sending “a copy of the summons and

        complaint and a notice of the suit, together with a translation of each into the

        official language of the foreign state by any form of mailing requiring a signed

        receipt, to be addressed and dispatched by the clerk of the court to the head of

        the ministry of foreign affairs of the foreign state concerned.” 28

        U.S.C. § 1608(a)(3) (emphasis added).

5.      Service was attempted under section 1608(a)(3):

            if service cannot be made under paragraphs (1) or (2), by sending a copy
            of the summons and complaint and a notice of suit, together with a
            translation of each into the official language of the foreign state, by any
            form of mail requiring a signed receipt, to be addressed and dispatched by
            the clerk of the court to the head of the ministry of foreign affairs of the
            foreign state concerned,

            28 U.S.C. § 1608(a)(3).

6.      Plaintiffs strictly adhered to the literal requirements of section 1608(a)(3) and

        used Federal Express to send the required documents by “mail requiring a

        signed receipt” to the “head of the ministry of foreign affairs of the foreign

        state concerned”, see Dkt. ##6-8, using waybill #776171526654. Dkt. #8-1.

7.      Federal Express delivered #776171526654 to the Rwandan Ministry of Foreign

        Affairs on March 8, 2022, which was signed for by “Rusen” at the Ministry. Exhibit 1.




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   8.       Federal Express has provided an affidavit, Exhibit 2, which describes its

            internal document called a Delivery Record. Exhibit 3. These documents

            further demonstrate that Plaintiffs served Rwanda on March 8, 2022, as

            required by the FSIA.

   9.       The summons issued in this case requires Rwanda to answer sixty days after

            Plaintiffs completed service, which means an answer or responsive pleading is

            due by May 9, 2022. See Dkt. #5.

   10.      Service on the remaining Defendants who are individuals in a foreign country,

            see Fed. R. Civ. P. 4(f), remains ongoing.

   I declare under penalty of perjury that the foregoing is true and correct.


April 26, 2022                                           Respectfully Submitted,

                                                         /s/ Edward MacAllister

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